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UNITED STATES DISTRICT COURT
For The
District of Maryland

David J. Boshea
Plaintiff

Vv.

Compass Marketing, Inc
Defendant Civil Action No.: 1-21-CV-00309-ELH

Affidavit of Michael R. White

1. Iam over eighteen years of age and competent to testify before this Court.

2. Lam NOT a party to this litigation.

3. lamaretired Maryland State Trooper, with 23 years of experience as a criminal
investigator.

4. lama member of the Board of Directors of Compass Marketing, Inc. See Exhibit 1.

5. On or about July 17, 2015, Stephen Stern’s business partner, John White, informed the
Board of Directors of Compass Marketing (his brothers Michael and Daniel) that he may
have to soon “do some jail time” for securities violations he had committed.

6. On or about July 17, 2015, John White informed the Board of Directors of Compass
Marketing that the company could soon face litigation from the shareholders of John’s
“side business”, Tagnetics, Inc.

7. On or about July 17, 2015, the shareholders and Board of Directors of Compass
Marketing passed a resolution electing DANIEL J. WHITE to serve as Chief Executive
Officer of Compass Marketing Inc. See Exhibit 2.

8. The Board of Directors of Compass Marketing did not meet on July 20, 2015.
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9. I do not waive any criminal or civil conflicts Stephen Stern and/or Ryan Beard and/or the
law firm of Kagan Stern Marinello & Beard, LLC created by fraudulently entering this
case.

I SOLEMNLY AFFIRM UNDER THE PENALTIES OF PERJURY AND UNDER OATH

THAT THE CONTENTS OF THE THIS AFFIDAVIT ARE TRUE AND CORRECT TO

THE BEST OF MY KNOWLEDGE, INFORMATION AND BELIEF.

BOL LM QouuXe PiSpoye

Michael R White Date
